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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                11/10/21

  United States of America,

                   –v–
                                                                    20-CR-330 (AJN)
  Ghislaine Maxwell,
                                                                         ORDER
                          Defendant.


ALISON J. NATHAN, District Judge:

        The Court hereby revises the schedule for the supplemental briefing as to Defendant’s

first and seventh motions in limine, which was previously set at the November 1, 2021

conference, as follows:

              •   Government submission due Friday, November 12, 2021

              •   Defense submission due Monday, November 15, 2021

        At today’s conference, the parties inquired about the start time for voir dire on November

16, 2021. The parties are ORDERED to appear at 8:30 a.m. on November 16, 2021 in

Courtroom 518 of the United States District Court for the Southern District of New York,

Thurgood Marshall U.S. Courthouse at 40 Foley Square, New York, New York, for the start of

voir dire.

        SO ORDERED.



 Dated: November 10, 2021
        New York, New York                       ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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